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YAHOO!, MAIL

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Re: Al-Khidhr v. Harrison County--Supplemental Disclosure Expert

Testimony
Monday, October 26, 2009 3:29 PM

From: "Ian Brendel" <ian.brendel@yahoo.com>
To: chaselaw@bellsouth.net
Ce: hbroom@ddkf.com, jgewin@ddkf.com

Alvin,

On behalf of Defendants Gaston and Thompson, they object to the late production of Dr. Simone's
report. Further, if the Court is inclined to allow the untimely designation, Defendants Gaston and
Thompson will most likely request an IME under Rule 35 based on the opinions and conclusions
given by Dr. Simone.

Jan A. Brendel*

Attorney at Law

P. O. Box 1521

Gulfport, Mississippi 39502
Phone: 228.864.1588

Fax: 228.863.5008

* Also Admitted in Alabama

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Re: Al-Kehighr y. awison Soantes-Repalemanisd dnnstesnes Expert eating /o¥ ahqshge Pages? of 3

From: Haley Broom <hbroom@ddkf.com>

To: chaselaw@bellsouth.net; ian.brendel@yahoo.com

Cc: Joe Gewin <jgewin@ddkf.com>; Trish Misko <tmisko@ddkf.com>
Sent: Mon, October 26, 2009 9:43:43 AM

Subject: RE: Al-Khidhr v. Harrison County--Supplemental Disclosure Expert
Testimony

Alvin,

| was out of the office Friday and just received your email with attachments. As more fully stated in our Motion
to Strike, we object to the designation of Dr. Simone and the untimely production of his report since the Court
ordered these materials to be produced two weeks ago.

Also, within the next two business days, we request that you give us dates Mr. Al-Khidhr is available for
deposition. The discovery deadline is fast approaching.

Thanks,
Haley

Haley N. Broom, Esquire

Dukes, Dukes, Keating & Faneca, P.A.
2909 13th Street, Sixth Floor

Post Office Drawer W

Gulfport, Mississippi 39502

Telephone: (228) 868-1111
Facsimile: (228) 863-2886
E-Mail: hbroom@ddkf.com

From: chaselaw@bellsouth.net [mailto:chaselaw@bellsouth.net]

Sent: Friday, October 23, 2009 10:11 AM

To: ian.brendel@yahoo.com; Haley Broom

Subject: Al-Khidhr v. Harrison County--Supplemental Disclosure Expert Testimony

Haley and Ian,

Attached please find a supplemental disclosure of expert testimony of Dr. Simone regarding this
case. I also attached a copy of the psychological evaluation prepared by Dr. Simone. The first page
of the evaluation contains two color photographs. I'll get them reproduced and mail them to you.

Alvin Chase

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P.0. Box 7119

D'Iberville, MS 39540

Phone: (228)-396-3300

Fax: (228)-396-1494

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